                               REVERSE the order granting summary judgment AND
                 REMAND this matter to the district court for further proceedings
                 consistent with this order.


                                                                                        , J.



                                                                                         J.




                 CHERRY, J., concurring:
                               For the reasons stated in the SFR Investments Pool 1, LLC v.
                 U.S. Bank, NA., 130 Nev. , 334 P.3d 408 (2014), dissent, I disagree
                 that respondent lost its lien priority by virtue of the homeowners
                 association's nonjudicial foreclosure sale. I recognize, however, that SFR
                 Investments    is now the controlling law and, thusly, concur in the
                 disposition of this appeal.

                                                                                          J.




                 cc:   Hon. Nancy L. Allf, District Judge
                       Howard Kim &amp; Associates
                       Akerman LLP/Las Vegas
                       McCarthy &amp; Holthus, LLP/Las Vegas
                       Eighth District Court Clerk




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